Case 8:24-cv-00753-DLB Document 12-11 Filed 03/15/24 Page 1 of 3




                      EXHIBIT 11
        Case 8:24-cv-00753-DLB Document 12-11 Filed 03/15/24 Page 2 of 3




March 15, 2024

Kappa Alpha Order Fraternity
Sent electronically to       terpmail.umd.edu

Regarding Case Number: 2023183903

Dear                Chapter President of Kappa Alpha Order Fraternity:

As you know, the University Maryland received concerning reports regarding unsafe practices at several
IFC and PHA chapters, as a result of which the University conducted numerous interviews pertaining to
these allegations. The Office of Student Conduct has received allegations in these interviews and from
other complaints that your organization was involved in conduct that may have violated the University's
Code of Student Conduct.

Specifically it is alleged that Kappa Alpha Order Fraternity has engaged in various physical/emotional
hazing activities during the new member process in the Spring 2024 semester, including requiring
tasks/errands of prospective new members, alcohol distribution to individuals under the legal drinking
age, and high risk drinking behaviors. Please be advised that this type of behavior puts the health and
safety of your organization's members at risk, as well as the members of the University community at
large.

As a result of the foregoing, due to the concerns about the health and safety of chapter members, this
notice shall also serve as a cease and desist order prohibiting Kappa Alpha Order Fraternity from
continuing its new member education program at this time. Additionally, the chapter may not host social
events where alcohol is present. The chapter may continue with other fraternity-related operations
including philanthropy events and chapter meetings.

As the University continues to investigate these allegations, as chapter president, you are expected to
contact the Office of Student Conduct at (301) 314-8204 by March 25, 2024, to schedule a preliminary
interview. Please note that although it is "Spring Break", the University will be open March 20-22 if you
wish to schedule a meeting prior to March 25. The purpose of this meeting is to review the information
we received, discuss pertinent procedures, and determine appropriate next steps, if necessary. Prior to the
meeting, it is recommended that you review the Code of Student Conduct to familiarize yourself with the
relevant university policies.

All scheduled meetings will take place virtually via Google Meet or Zoom. A link will be provided to
you upon scheduling your appointment.

We would also like to share two resources with you. The Student Legal Aid Office offers student
assistance. The hyperlink has been provided for your convenience to schedule an appointment.
                                           Case 8:24-cv-00753-DLB Document 12-11 Filed 03/15/24 Page 3 of 3



                                   Additionally, the University Counseling Center is available to support you as well. If it would be helpful
                                   to speak with a professional counselor, please contact them at (301) 314-7651. After-hours crisis support
                                   phone services are available.If you have any questions or concerns regarding the student conduct process,
                                   please feel free to contact our office.

                                   Sincerely,



                                   James Bond
                                   Director of Student Conduct




Powered by TCPDF (www.tcpdf.org)
